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 6                                    UNITED STATES DISTRICT COURT

 7                                            DISTRICT OF NEVADA
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 9        UNITED STATES OF AMERICA,                        Case No. 2:03-cr-00350-LRH-PAL-6

10                                  Respondent/Plaintiff, ORDER

11               v.

12        DARREAL BIDDLE,

13                                  Petitioner/Defendant.
14

15              Defendant Darreal Biddle moves pro se for a compassionate release (ECF Nos. 2007 &
16    2011) under 18 U.S.C. § 3582, which the Government opposes (ECF No. 2026). 1 For the reasons
17    contained with this Order, the Court denies Biddle’s motion.
18    I.        BACKGROUND
19              Darreal Biddle, aka D-Locc, was a “Young Gangsta (Y.G.)” and “shooter” for the Rolling
20    60s Crips gang that operated in Las Vegas from 1990 to 2003. The Rolling 60s Crips gang was a
21    criminal organization whose members engaged in acts of violence, including murder, attempted
22    murder, arson, robbery, and narcotics distribution. As a Y.G. and shooter, Biddle participated in
23    the criminal enterprise by establishing and maintaining gang turf, possessing and distributing illicit
24    drugs, and committing murder. On December 21, 1997, he murdered Billy Rex Traver, a cab driver
25    for North Las Vegas Cab Company, during a robbery, and on September 26, 2001, murdered rival
26    gang members Patrick Hawkins and Adrian Williams during the robbery of a drug house. On
27    September 2, 2002, Biddle was arrested and charged with murder and burglary with a deadly
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          The Federal Public Defender’s Office filed a notice of non-supplementation. ECF No. 2019.
                                                             1
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 1    weapon, by Las Vegas Metropolitan Police Department. As a result of a two-year investigation

 2    into the killings of 15 individuals during a war over drug selling turf, these charges were dismissed

 3    and on August 13, 2003, Biddle, along with 21 other codefendants, was arrested by the FBI. After

 4    a 21-count superseding indictment was returned on April 18, 2006, Biddle pled guilty to violating

 5    18 U.S.C. § 1962(d), conspiracy to engage in a racketeering-influenced corrupt organization, on

 6    May 8, 2006. On September 12, 2006, the Court sentenced Biddle to 348 months imprisonment,

 7    to be followed by five years of supervised release.

 8    II.    DISCUSSION

 9           Under 18 U.S.C. § 3582(c), "the court may not modify a term of imprisonment once it has

10    been imposed," except under specified conditions. For a motion brought under § 3582(c)(1)(A)(i),

11    those specified conditions include that the “defendant has fully exhausted all administrative rights

12    to appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf or the lapse

13    of 30 days from receipt of such a request by the warden of the defendant’s facility.” District courts

14    in this Circuit have reasoned that this language provides two alternative routes on which a

15    defendant may bring his action to court. See United States v. Rodriquez-Acedo, Case No. 19-cr-

16    03539, 2020 WL 4192289, at *2 (S.D. Cal. July 21, 2020); United States v. Saenz, Case No.

17    97CR2106-JLS, 2020 WL 2767558, at *2 (S.D. Cal. May 28, 2020); United States v.

18    Weidenhamer, Case No. CR-16-01072-PHX-ROS, 2019 WL 6050264, at *2-4 (D. Ariz. Nov. 8,

19    2019). Under the first route of exhaustion, the defendant has petitioned the Warden, the Warden

20    denies that petition within thirty days, and the defendant must fully exhaust his administrative

21    remedies by appealing the Warden’s denial. Under the second route of exhaustion, the Warden

22    fails to act on defendant’s petition within thirty days and the defendant may proceed directly to the

23    district court. “The purpose of the ‘lapse of 30 days’ language is to give a defendant an alternative

24    if attempts to exhaust administrative remedies appear futile.” Rodriquez-Acedo, 2020 WL

25    4192289, at *2. The Court agrees with this reading of the statute.

26           Defendant submitted a request for release to the Warden at USP McCreary on May 7, 2020.

27    ECF No. 2026-2. The Warden denied this request on May 27, 2020, articulating: “We recognize

28    that you, like all of us, have legitimate concerns and fears about the spread and effects of the virus.
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 1    However, your concern about being potentially exposed to, or possibly contracting, COVID-19

 2    does not currently warrant an early release from your sentence.” ECF No. 2026-3. The Warden

 3    then provided that Defendant was to file a BP-9 form within 20 days of receipt should he choose

 4    to appeal this determination. Id. The record before the Court does not provide that Defendant

 5    appealed this denial or took any further administrative action. And the Government has not

 6    conceded or waived the exhaustion requirement. 2 Based on this information, the Court finds that

 7    Defendant has failed to exhaust his administrative remedies. And because this exhaustion

 8    requirement is expressly required by the statute itself, the Court is not free to carve out an exception

 9    to the congressional mandate. See Ross v. Blake, 136 S.Ct. 1850, 1857 (2016) (while “judge-made

10    exhaustion doctrines . . . remain a minimal to judge-made exceptions, . . . a statutory exhaustion

11    provision stands on different footing. There Congress sets the rules – and courts have a role in

12    creating exceptions only if Congress wants them to.”). Therefore, the Court must deny defendant’s

13    motion for failure to exhaust his administrative remedies.

14    III.    CONCLUSION

15            IT IS THEREFORE ORDERED that defendant’s motion for compassionate release (ECF

16    Nos. 2007 & 2011) is DENIED without prejudice for failure to exhaust his administrative

17    remedies as required by 18 U.S.C. § 3582(c)(1)(A).

18            IT IS FURTHER ORDERED that the Government’s motion for leave to file sealed exhibits

19    (ECF No. 2028) is GRANTED nunc pro tunc to protect the defendant’s privacy.

20            IT IS FURTHER ORDERED that the defendant is not entitled to be present for a hearing

21    on a motion for compassionate release. See FED. R. CRIM. P. 43(b)(4).

22            IT IS SO ORDERED.

23            DATED this 5th day of November, 2020.

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25                                                            LARRY R. HICKS
                                                              UNITED STATES DISTRICT JUDGE
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       At least one court in this Circuit has found that the Government may waive the exhaustion requirement
28    by ignoring the procedural requirements and only arguing against a defendant’s motion on the merits. See
      Rodriquez-Acedo, 2020 WL 4192289, at *2. That was not the case here.
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